             Case: 4:21-cv-01414-SRC Doc. #: 1-3 Filed: 12/01/21 Page: 1 of 26 PageID #: 12

             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 21SL-CC03607
 WILLIAM M. CORRIGAN JR.
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 DOUGLAS DOWLING                                                MEGEN L HOFFMAN
                                                                1034 S. BRENTWOOD BOULEVARD
                                                                SUITE 1301
                                                          vs.   SAINT LOUIS, MO 63117
 Defendant/Respondent:                                          Court Address:
 THE BOEING COMPANY                                             ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Employmnt Discrmntn 213.111                                 CLAYTON, MO 63105                                                    (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: THE BOEING COMPANY
                                      Alias:
  221 BOLIVAR ST.
  JEFFERSON CITY, MO 65101


        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        08-OCT-2021                                           ______________________________________________
                                         Date                                                                      Clerk
                                       Further Information:
                                       LES
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
           permanently resides with the Defendant/Respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                   _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________            _____________________________________________
                                                                         Date                                        Notary Public




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 21-SMCC-9042        1    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
             Case: 4:21-cv-01414-SRC Doc. #: 1-3 Filed: 12/01/21 Page: 2 of 26 PageID #: 13
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 21-SMCC-9042    2    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                    54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
             Case: 4:21-cv-01414-SRC Doc. #: 1-3 Filed: 12/01/21 Page: 3 of 26 PageID #: 14
                        THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


CCADM73



OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 21-SMCC-9042   3   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
           Case: 4:21-cv-01414-SRC Doc. #: 1-3 Filed: 12/01/21 Page: 4 of 26 PageID #: 15
   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 21-SMCC-9042   4   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
          Case: 4:21-cv-01414-SRC Doc. #: 1-3 Filed: 12/01/21 Page: 5 of 26 PageID #: 16




               County Satellite Court Now Open in St. Ann
               Hours: Mon-Fri 8:30 a.m. to 5:00 p.m. FREE PARKING

For the convenience of North County residents, a satellite branch of the St. Louis County Circuit
Court is now open at the St. Louis County Government Center Northwest at the 715 Northwest Plaza
Drive in St. Ann.
Attending Court Hearings Remotely using E-Courts
If you are scheduled to appear in court, you can access the courtroom remotely using the public
computer stations (E-courts) in St. Ann and Clayton. These are available for use when courtroom
access is restricted due to the pandemic.
Please note: Hearings for juvenile and paternity cases are confidential, and can only be accessed
from the Clayton E-court at this time.

Be sure to bring your paperwork with you; you will need your case number, as well as the date,
time and number of the Division where you are scheduled to appear.

Filing Pleadings/New Petitions
If you are representing yourself, you may file your paperwork at the St. Ann satellite court, in
addition to the Clayton courthouse, using the secure drop box located inside the Court reception area.
Filing Orders of Protection
Starting March 1, you may file for an Order of Protection at the Adult Abuse office in the St. Ann
satellite court, in addition to the Clayton courthouse. Clerks will be available on-site to help you fill
out and file the necessary paperwork.

                            For more information call: 314-615-8029
                                                                                 Electronically Filed - St Louis County - August 09, 2021 - 08:45 AM
Case: 4:21-cv-01414-SRC Doc. #: 1-3 Filed: 12/01/21 Page: 6 of 26 PageID #: 17
                                                              21SL-CC03607
                                                                                 Electronically Filed - St Louis County - August 09, 2021 - 08:45 AM
Case: 4:21-cv-01414-SRC Doc. #: 1-3 Filed: 12/01/21 Page: 7 of 26 PageID #: 18
                                                                                 Electronically Filed - St Louis County - August 09, 2021 - 08:45 AM
Case: 4:21-cv-01414-SRC Doc. #: 1-3 Filed: 12/01/21 Page: 8 of 26 PageID #: 19
                                                                                 Electronically Filed - St Louis County - August 09, 2021 - 08:45 AM
Case: 4:21-cv-01414-SRC Doc. #: 1-3 Filed: 12/01/21 Page: 9 of 26 PageID #: 20
                                                                                  Electronically Filed - St Louis County - August 09, 2021 - 08:45 AM
Case: 4:21-cv-01414-SRC Doc. #: 1-3 Filed: 12/01/21 Page: 10 of 26 PageID #: 21
                                                                                  Electronically Filed - St Louis County - August 09, 2021 - 08:45 AM
Case: 4:21-cv-01414-SRC Doc. #: 1-3 Filed: 12/01/21 Page: 11 of 26 PageID #: 22
                                                                                  Electronically Filed - St Louis County - August 09, 2021 - 08:45 AM
Case: 4:21-cv-01414-SRC Doc. #: 1-3 Filed: 12/01/21 Page: 12 of 26 PageID #: 23
                                                                                  Electronically Filed - St Louis County - August 09, 2021 - 08:45 AM
Case: 4:21-cv-01414-SRC Doc. #: 1-3 Filed: 12/01/21 Page: 13 of 26 PageID #: 24
                                                                                  Electronically Filed - St Louis County - August 09, 2021 - 08:45 AM
Case: 4:21-cv-01414-SRC Doc. #: 1-3 Filed: 12/01/21 Page: 14 of 26 PageID #: 25
                                                                                  Electronically Filed - St Louis County - August 09, 2021 - 08:45 AM
Case: 4:21-cv-01414-SRC Doc. #: 1-3 Filed: 12/01/21 Page: 15 of 26 PageID #: 26
                                                                                  Electronically Filed - St Louis County - August 09, 2021 - 08:45 AM
Case: 4:21-cv-01414-SRC Doc. #: 1-3 Filed: 12/01/21 Page: 16 of 26 PageID #: 27
                                                                                  Electronically Filed - St Louis County - August 09, 2021 - 08:45 AM
Case: 4:21-cv-01414-SRC Doc. #: 1-3 Filed: 12/01/21 Page: 17 of 26 PageID #: 28
                                                                                  Electronically Filed - St Louis County - August 09, 2021 - 08:45 AM
Case: 4:21-cv-01414-SRC Doc. #: 1-3 Filed: 12/01/21 Page: 18 of 26 PageID #: 29
                                                                                  Electronically Filed - St Louis County - August 09, 2021 - 08:45 AM
Case: 4:21-cv-01414-SRC Doc. #: 1-3 Filed: 12/01/21 Page: 19 of 26 PageID #: 30
                                                                                  Electronically Filed - St Louis County - October 18, 2021 - 10:34 AM
Case: 4:21-cv-01414-SRC Doc. #: 1-3 Filed: 12/01/21 Page: 20 of 26 PageID #: 31
            Case: 4:21-cv-01414-SRC Doc. #: 1-3 Filed: 12/01/21 Page: 21 of 26 PageID #: 32

             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 21SL-CC03607
 WILLIAM M. CORRIGAN JR.
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 DOUGLAS DOWLING                                                MEGEN L HOFFMAN
                                                                1034 S. BRENTWOOD BOULEVARD
                                                                SUITE 1301
                                                          vs.   SAINT LOUIS, MO 63117
 Defendant/Respondent:                                          Court Address:
 THE BOEING COMPANY                                             ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Employmnt Discrmntn 213.111                                 CLAYTON, MO 63105                                                    (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: THE BOEING COMPANY
                                      Alias:
  CSC LAWYERS INCORPORATING SERVICE
  COMPANY:R/A
  221 BOLIVAR STREET
  JEFFERSON CITY, MO 65101
        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        27-OCT-2021                                           ______________________________________________
                                         Date                                                                      Clerk
                                       Further Information:
                                       WAW
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
           permanently resides with the Defendant/Respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                   _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________            _____________________________________________
                                                                         Date                                        Notary Public




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 21-SMCC-9549        1    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
            Case: 4:21-cv-01414-SRC Doc. #: 1-3 Filed: 12/01/21 Page: 22 of 26 PageID #: 33
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 21-SMCC-9549    2    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                    54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
            Case: 4:21-cv-01414-SRC Doc. #: 1-3 Filed: 12/01/21 Page: 23 of 26 PageID #: 34
                        THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
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OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 21-SMCC-9549   3   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
           Case: 4:21-cv-01414-SRC Doc. #: 1-3 Filed: 12/01/21 Page: 24 of 26 PageID #: 35
   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
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CCADM73




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 21-SMCC-9549   4   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
         Case: 4:21-cv-01414-SRC Doc. #: 1-3 Filed: 12/01/21 Page: 25 of 26 PageID #: 36




               County Satellite Court Now Open in St. Ann
               Hours: Mon-Fri 8:30 a.m. to 5:00 p.m. FREE PARKING

For the convenience of North County residents, a satellite branch of the St. Louis County Circuit
Court is now open at the St. Louis County Government Center Northwest at the 715 Northwest Plaza
Drive in St. Ann.
Attending Court Hearings Remotely using E-Courts
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computer stations (E-courts) in St. Ann and Clayton. These are available for use when courtroom
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Please note: Hearings for juvenile and paternity cases are confidential, and can only be accessed
from the Clayton E-court at this time.

Be sure to bring your paperwork with you; you will need your case number, as well as the date,
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Filing Pleadings/New Petitions
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Filing Orders of Protection
Starting March 1, you may file for an Order of Protection at the Adult Abuse office in the St. Ann
satellite court, in addition to the Clayton courthouse. Clerks will be available on-site to help you fill
out and file the necessary paperwork.

                            For more information call: 314-615-8029
Case: 4:21-cv-01414-SRC Doc. #: 1-3 Filed: 12/01/21 Page: 26 of 26 PageID #: 37
